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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 DYLAN TOKAR,

                Plaintiff,
                                                   Civil Action No. 16-cv-2410 (RC)
        v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

                Defendant.




       Upon consideration of Plaintiff’s Motion for Extension of Time to File Motion for

Attorneys’ Fees and Costs, any response thereto, and the entire record herein;

       It is, pursuant to Fed. R. Civ. P. 54, hereby

       ORDERED, that the motion is granted, and the deadline for filing a motion relating to an

award of attorneys’ fees and costs is extended by 30 days, until May 14, 2018.

DATE: _______, 2018

                                                            _____________________________
                                                            RUDOLPH CONTRERAS
                                                            United States District Judge
